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            IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT
                     ______________________

                             No. 11-15292-BB
                         ______________________

                        TINA MARIE TRAVAGLIO,

                            Plaintiff-Appellant,

                                  versus

                AMERICAN EXPRESS COMPANY,
                 AMERICAN EXPRESS TRAVEL
              RELATED SERVICES COMPANY, INC.,
            HEALTHEXTRAS, INC. n/k/a CATAMARAN
         HEALTH SOLUTIONS, LLC and BANK OF NEWPORT,

                        Defendants-Appellees.
          _______________________________________________

           RESPONSE TO JURISDICTIONAL QUESTIONS BY
              AMERICAN EXPRESS DEFENDANTS AND
                       HEALTHEXTRAS, INC.
          ______________________________________________

          ON APPEAL FROM THE UNITED STATES DISTRICT
           COURT FOR THE MIDDLE DISTRICT OF FLORIDA
          _______________________________________________

                                  Joel V. Lumer
                                  Kahan Shir, PL
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                                  Corporation. American Express Travel
                                  Related Services Company, Inc. and Health
                                  Extras, Inc. n/k/a Catamaran Health
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                    CERTIFICATE OF INTERESTED PERSONS

      Appellees, American Express Company, American Express Travel Related

Services Company, Inc. and HealthExtras, Inc. n/k/a Catamaran Health Solutions,

LLC, certify that the following is a list of all trial judges, attorneys, persons,

associations of persons, firms, partnerships, or corporations that have an interest in

the outcome of this particular case or appeal:

      1.     American Express Company (ticker symbol: AXP) - appellee

      2.     American Express Travel Related Services Company, Inc. - appellee

      3.     Bank of Newport n/k/a BankNewport - appellee

      4.     Clark & Martino - attorneys for American Express entities

      5.     Covington, Virginia M. Hernandez - trial judge

      6.     Crist, Matthew - attorney for American Express entity

      7.     Galeoto, Laureen E. - attorney for American Express entities

      8.     Greenberg Traurig, P.A. - attorneys for American Express entities

      9.     Health Extras, Inc. n/k/a Catamaran Health Solutions, LLC

      10.    Kahan Shir, PL - attorneys for HealthExtras, Inc. and American

Express entities.

      11.    Kramer, William D. - attorney for Tina Marie Travaglio

      12.    Lumer, Joel V. - attorney for HealthExtras, Inc. and American

Express entities.
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      13.   Mello, Kimberly S. - attorney for American Express entities

      14.   Ocean Point Financial Partners, LLC - owner of appellee Bank of

Newport

      15.   Porcelli, Anthony E. - magistrate judge

      16.   Shir, Guy M. - attorney for HealthExtras, Inc.

      17.   Sweitzer, Kathleen A. - attorney for Bank of Newport

      18.   Travaglio, Tina Marie- appellant

      19.   Tressler, LLP - attorneys for Bank of Newport

      20.   Weekly, Paul M. - attorney for Bank of Newport

      21.   Weekly Schulte Valdes, LLC - attorney for Bank of Newport

      22.   Zimmer, Hilary R - attorney for Bank of Newport



                                     /s/ Joel V. Lumer
                                     Joel V. Lumer

                  CORPORATE DISCLOSURE STATEMENT

      Appellee, HealthExtras, Inc. n/k/a Catamaran Health Solutions, LLC,

certifies it is a wholly owned subsidiary of Catamaran, Inc., which is a wholly

owned subsidiary Catamaran Corporation (NASDAQ: CTRX), a publicly traded

company. T. Rowe Price Associates, Inc., a subsidiary of T. Rowe Price Group,

Inc. (NASDAQ: TROW) owns more than 10% of the stock of Catamaran

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Corporation. FMR, LLC, a privately owned company which markets mutual funds

owns more than 10% of the Catamaran Corporation.

     Appellees, American Express Company and American Express Travel

Related Services Company, Inc., certify that American Express Company (NYSE:

AXP), a publicly traded company, is the corporate parent of American Express

Travel Related Services Company, Inc. and that American Express Company has

no corporate parent. Berkshire Hathaway, Inc. (NYSE: BRK), a publicly traded

company, together with its affiliates, holds more than 10% of the stock of

American Express Company.

                                   /s/ Joel V. Lumer
                                   Joel V. Lumer




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                RESPONSE TO JURISDICTIONAL QUESTIONS

      Appellees, American Express Company, American Express Travel Related

Services Company, Inc. and HealthExtras, Inc. n/k/a Catamaran Health Solutions,

LLC, respond to the Jurisdictional Questions presented by the court on October 31,

2012 and show the following:

      Question 1

      Question: Address whether this case involves a "direct action against the

insurer of a policy or contract of liability insurance." 28 U.S.C. § 1332(c)(1). If

so, address what effect this has on the district court's subject matter jurisdiction.

See 28 U.S.C. § 1332(a), (c)(1)(A).

      Response: HealthExtras, Inc. n/k/a Catamaran Health Solutions, Inc., is not

an insurer and the Complaint filed in the district court (Document 1) does not

allege that HealthExtras, Inc. is an insurer or insurance company. Plaintiff filed

with the district court the Affidavit of David T. Blair, the chief executive officer of

HealthExtras, Inc. (Document 28-1), which states at page 2: "The insurance

coverages are underwritten by highly rated insurance companies, as HealthExtras

is neither an insurance company nor an insurance agent."                Inasmuch as

HealthExtras, Inc. is not an insurer and did not issue a policy of insurance,

plaintiff's complaint is not a direct action against that defendant as an insurer of a


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policy or contract of liability insurance.

      The Complaint filed in the district court does not allege that American

Express Travel Related Services Company, Inc. is an insurer or insurance

company. Paragraph 3 of the Complaint (Document 1, pp. 1-2) alleges that this

defendant "participated with American Express Company in promoting travel-

related sales programs and is believed to have been active in the program that is the

subject of plaintiff's claims." There is no other mention in the Complaint of

American Express Travel Related Services Company, Inc. Inasmuch as the

Complaint does not allege that this defendant issued a policy of insurance,

plaintiff's complaint is not a direct action against that defendant as an insurer of a

policy or contract of liability insurance.

      The allegations of the Complaint against defendant, American Express

Company, must be viewed in their totality and one allegation should not be taken

out of its proper context. Paragraph 14 of the Complaint (Document 1, p. 4) states

at the part pertinent to the question presented: "     Plaintiff settled her differences

and executed a confidentiality agreement with the insurer in a case filed with this

Court in September 2009 as Civil Action No. 8:09cv1961-T33-EAL." The natural

inference from this statement is that the insurer of the policy or contract of

insurance described in the Complaint is a corporation other than American Express


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Company. This construction of the allegations of the Complaint is supported by

Plaintiff's Response to Defendants' American Express Company's and American

Express Travel Related Service Company, Inc.'s Motion to Dismiss (Document 12)

which states at pages 1-2: "American Express's preliminary statements suggest

incorrectly that Plaintiff's claim for relief is an insurance case instead of American

Express's fraudulent acts of posing as an insurance company before and for years

after Plaintiff's accident." Inasmuch as the Complaint does not allege that

American Express Company is an insurance company which issued a policy of

insurance, plaintiff's complaint is not a direct action against that defendant as an

insurer of a policy or contract of liability insurance.

      Question 2

      Question: Address whether the pleadings sufficiently alleged diversity of

the parties so as to invoke the district court's subject matter jurisdiction in this case,

specifically the citizenship of:

      a.     plaintiff Tina Marie Travaglio. 28 U.S.C. § 1332(a); Molinos Valle

Del Cibao, C. por A. v. Lama, 633 F.3d 1330, 1342 n. 12 (11th Cir. 2011)(noting

that the complaint must allege the citizenship, not residence, of individuals); AND

      b.     the various defendants. 28 U.S.C. § 1332(c)(1). Am. Motorists Ins. Co.

v. Am. Emp. Ins. Co., 600 F.2d 15, 16 n. 1 (5th Cir. 1979)(stating that a corporation


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is deemed a citizen of every state by which it has been incorporated and of the state

where it has its principal place of business, and that the plaintiffs are required to

provide this information in their pleadings.)

      Response

      a.     Plaintiff Tina Marie Travaglio. The Complaint alleges that plaintiff is

a resident of the State of Florida, but does not allege plaintiff is a citizen of Florida

(Document 1, p. 1). Plaintiff's Response to Bank of Newport's Motion to Dismiss

Her Complaint (Document 29) states at paragraph 2 on page 2: "Plaintiff's primary

residence was, and still is, Florida, although plaintiff maintained a temporary

secondary residence in Ohio." The law of this circuit on citizenship, domicile and

primary residence for purposes of diversity jurisdiction is set out in McCormick v.

Aderholdt, 293 F.3d 1254 (11th Cir. 2002), where the court stated: "Citizenship is

equivalent to 'domicile' for purposes of diversity jurisdiction. [citation omitted]. 'A

person's domicile is the place of "his true, fixed, and permanent home…"'" 293

F.3d at 1257-58 (footnote omitted). In sum, because plaintiff's primary, permanent

residence is in Florida, her domicile is in Florida and she is a citizen of the State of

Florida.

      The United States Supreme Court addressed the issue presented by Question

2.a in the case of Sun Printing & Publishing Association v. Edwards, 194 U.S. 377


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(1904), and stated:

             The whole record, however, may be looked to, for the
             purpose of curing a defective averment of citizenship,
             where jurisdiction in a Federal court is asserted to depend
             upon diversity of citizenship, and if the requisite
             citizenship is anywhere expressly averred in the record,
             or facts are therein stated which, in legal intendment,
             constitute such allegation, that is sufficient.

194 U.S. at 382. This holding was quoted with approval in District of Columbia

ex. rel. American Combustion, Inc. v. Transamerica Insurance Company, 797 F.2d

1041, 1044 (D.C. Cir. 1986).

      This court held in Williams v. Best Buy Company, Inc., 269 F.3d 1316 (11th

Cir. 2001): "Where the pleadings are inadequate, we may review the record to find

evidence that diversity jurisdiction exists." 269 F.3d at 1320. See also Penteco

Corp. Ltd. Partnership-1985A v. Union Gas System, Inc., 929 F.2d 1519, 1521

(10th Cir. 1991)("Where the pleadings are found wanting, an appellate court may

also review the record for evidence that diversity does exist."); and Troupe v.

Chicago, Duluth & Georgian Bay Transit Co., 234 F.2d 253, 258 n. 6 (2d Cir.

1956)("The whole record may be looked to for the purpose of curing a defective

averment of jurisdiction.")

      In Molinos Valle Del Cibao, C. por A. v. Lama, in considering an issue

analogous to the court's inquiry in the present case, this court did not require


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citizenship be properly alleged in a complaint and gave substantial weight to a

statement in an answer and the parties' joint pretrial stipulation that a defendant

"was domiciled within the City of Aventura, Florida." 633 F.3d at 1342. In light of

that statement, the court concluded at footnote 12:

             We need not dismiss the amended complaint, however.
             28 U.S.C. § 1653 provides: “Defective allegations of
             jurisdiction may be amended, upon terms, in the trial or
             appellate courts.” Because we read this provision
             liberally, see Toms v. Country Quality Meats, Inc., 610
             F.2d 313, 316 (5th Cir.1980), we will allow Oscar Sr.'s
             admissions and record evidence to cure Molinos's
             pleading defect.

Id. at 1342 n. 12. Similarly, the statements in the record in the present case should

be taken to cure the pleading defect of the plaintiff's citizenship in the present

action.

      b.     The various defendants. Paragraph 2 of the Complaint alleges that

American Express Company is a New York corporation: it does not allege the

location of its principal place of business. The location of the principal office of

American Express Company in New York, New York is a fact that is not subject to

reasonable dispute because it is both: (1) generally known within the trial court’s

territorial jurisdiction and (2) can be accurately and readily determined from




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sources whose accuracy cannot reasonably be questioned. 1 The Corporation

Annual Report readily available on the website of the Florida Secretary of State 2

shows its principal office at 200 Vesey Street, New York, NY. The identical

information is readily available on the website of the New York Department of

State Division of Corporations 3. This same information is also available on the 10-

K Annual Report filing on the website of the U.S. Securities and Exchange

Commission.4

         The Complaint does not allege either the state of incorporation or the

location of the principal place of business for any of the defendants; American

Express Travel Related Services Company, Inc.; HealthExtras, Inc.; or Bank of

Newport.

         Plaintiff filed with the court the Affidavit of David T. Blair, the chief

executive officer of Health Extras, Inc. (Document 29-1). The affidavit states at

paragraph 1 on page 1: "HealthExtras is a Delaware corporation with its principal

place of business in Rockville, Maryland." In addition, the Motion to Dismiss

Complaint and Quash Service of Process filed by HealthExtras, Inc. (Document

15), states at paragraph 16 on page 5 that HealthExtras, Inc. "is a Delaware

1
  Fed. R. Evid. 201 allows judicial notice of a fact if it is either (1) generally known within the territorial jurisdiction
of the trial court or (2) capable of accurate and ready determination by resort to sources whose accuracy cannot
reasonably be questioned.
2
  http://sunbiz.org/scripts/cornamelis.exe
3
  http://appext9.dos.ny.gov/corp_public/CORPSEARCH.SELECT_ENTITY
4
  http://www.sec.gov/Archives/edgar/data/4962/000119312512077400/d281394d10k.htm

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corporation with its principal office in Rockville, Maryland." A party's admission

of its corporate citizenship showing that its citizenship is diverse from the

plaintiff's, which in turn subjects the defendant to the court's diversity jurisdiction,

has been held by this court to be sufficient "record evidence to cure [plaintiff's]

pleading defect." Molinos Valle Del Cibao, C. por A. v. Lama, 633 F.3d at 1342 n.

12. When the court views the whole record in this case, it is apparent that the

record contains sufficient declarations to determine the citizenship of HealthExtras,

Inc. and to conclude that its citizenship is diverse from the citizenship of plaintiff,

Tina Marie Travaglio.

      Bank of Newport n/k/a BankNewport filed with the district court the

Affidavit of Sandra E. Pattie, its executive vice-president, chief operating officer

and corporate secretary (Document 25-2). The affidavit states at paragraph 5 on

page 1: "The Bank is incorporated and domiciled in Rhode Island only." It also

states at paragraph 6: "The Bank's only locations/branches are in Rhode Island." In

addition, the Defendant Bank of Newport's Motion to Dismiss Pursuant to Fed. R.

Civ. P. 12(b)(2) (Document 25) states at page 7, "the Bank is incorporated and

domiciled in Rhode Island; the Bank's only locations are in Rhode Island …."

When the court views the whole record in this case, it is apparent that the record

contains sufficient declarations to determine the citizenship of the Bank of


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Newport and to conclude that its citizenship is diverse from the citizenship of the

plaintiff, Tina Marie Travaglio.

      American Express Travel Related Services Company, Inc. hereby stipulates

that it is a New York corporation with its principal office at 200 Vesey Street, New

York, NY. This information is a fact that is generally known within the territorial

jurisdiction of the Middle District of Florida which can be can be accurately and

readily determined from the websites of the Florida Secretary of State and New

Department of State Division of Corporations, whose accuracy cannot reasonably

be questioned. It is permissible for parties to stipulate in the Court of Appeals to

the requisite citizenship facts of a corporate defendant to establish diversity

jurisdiction where it is clear that jurisdiction did, in fact, exist. See McCurdy v.

Greyhound Corporation, 346 F.2d 224, 226 (3d Cir. 1965).

       In Novak v. Capital Management and Development Corporation, 452 F.3d

902, 907 (D.C. Cir. 2006), the defendants/appellees "conceded" the facts of their

corporate citizenships and that those citizenships were diverse from the plaintiff in

the Court of Appeals in an instance where the complaint failed to contain

allegations regarding the states of incorporation and principal places of business of

the defendants. In Niagara Fire Insurance Company v. Dyess Furniture Co.,292

F.2d 232, 233 (5th Cir. 1961), the defendants/appellees "interposed no objection"


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to a motion by the appellants in the Court of Appeals to amend their complaint to

allege proper corporate citizenship facts. In the present case, American Express

Company; American Express Travel Related Services Company, Inc.; and

HealthExtras, Inc. n/k/a Catamaran Corporation concede the facts of their states of

incorporation and principal places of business, and that their respective citizenships

are completely diverse from plaintiff, and interpose no objection to an amendment

of the Complaint in this court to accurately reflect those facts.

      Question 3

      Question:     If diversity of citizenship was not established in the district

court, address whether an amendment of the allegations of jurisdiction is now

required. 28 U.S.C. § 1653; Mallory & Evans Contractors & Eng'rs, LLC v.

Tuskegee Univ., 663 F.3d 1304, 1305 (11th Cir. 2011).

      Response: 28 U.S.C. § 1653 states: "Defective allegations of jurisdiction

may be amended, upon terms, in the trial or appellate courts." It is stated in Toms

v. Country Quality Meats, Inc., 610 F.2d 313, 316 (5th Cir.1980), that "this section

should be construed liberally … [and] … is to be construed to permit an action to

be brought if it is at all possible to show that jurisdiction exists." 610 F.2d at 316.

In Mallory & Evans Contractors & Eng'rs, LLC v. Tuskegee Univ., this court

"invited" the plaintiff to file a motion in the Court of Appeals for leave to amend


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its complaint to properly allege diversity of citizenship and then "urged [the

parties] to agree both upon the grant of leave to file such amendment and upon the

truth of the allegations of such amendment…." 663 F.3d at 1305. American

Express Company; American Express Travel Related Services Company, Inc.; and

HealthExtras, Inc. n/k/a Catamaran Corporation agree to the grant of leave to file

an amendment to the Complaint in this case and agree to the corporate citizenship

facts set out above in this filing.

       In District of Columbia ex. rel. American Combustion, Inc. v. Transamerica

Insurance Company, the D.C. Circuit Court of Appeals held that:

              Section 1653's liberal amendment rule permits a party
              who has not proved, or even alleged, that diversity exists
              to amend his pleadings even as late as on appeal. If the
              amended allegations are not contested, and nothing
              appears to the appellate court that would bar jurisdiction,
              jurisdiction is deemed proper, despite the plaintiff's usual
              burden of alleging and proving jurisdiction.

797 F.2d at 1044. The U.S. Court of Appeals for the Seventh Circuit stated in

International Brotherhood of Boilermakers, Iron Ship Builders, Blacksmiths,

Forgers and Helpers, AFL-CIO v. Local Lodge D354, 897 F.2d 1400 (7th Cir.

1990):

              When, as here, the merits have already been decided and
              factual questions do not need to be resolved regarding
              prejudice to the correctly named defendant, it would be a
              meaningless gesture to remand so that the plaintiff could

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             amend its pleading under Rule 15 of the Federal Rules of
             Civil Procedure. Instead the sensible course is for this
             Court to permit amendment under 28 U.S.C. § 1653.

897 F.2d at 1400. The U.S. Court of Appeals for the Ninth Circuit has repeatedly

permitted amendment of complaints at the appellate level in order to correct

defective jurisdictional allegations in complaints. See Snell v. Cleveland, Inc., 316

F.3d 822, 828 (9th Cir. 2002), and the cases cited therein; and Luehrs v. Utah

Home Fire Insurance Company, 450 F.2d 452, 454-55 (9th Cir. 1971), and the

cases cited therein.

      If the court will not accept the stipulations and concessions of the various

defendants/appellants concerning the facts of their corporate citizenship to

establish diversity jurisdiction in this case, then " the sensible course is for this

Court to permit amendment under 28 U.S.C. § 1653" and American Express

Company; American Express Travel Related Services Company, Inc.; and

HealthExtras, Inc. n/k/a Catamaran Corporation will agree to the grant of leave to

file an amendment to the Complaint to make those jurisdictional allegations.

      Conclusion

      A court "abuses its discretion when it dismisses an action solely because a

plaintiff has incorrectly pled diversity of residence when it is undisputed that actual

diversity of citizenship exists." Swartz v. Prudential Healthcare, Inc., 78 Fed.


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Appx. 598, 599 (9th Cir. 2003), citing, Snell v. Cleveland, Inc., 316 F.3d at 824.

This action should properly be maintained in the Court of Appeals as the

jurisdictional facts are undisputed and diversity jurisdiction over the case does, in

fact, exist.   American Express Company; American Express Travel Related

Services Company, Inc.; and HealthExtras, Inc. n/k/a Catamaran Corporation will

agree to whatever procedure and mechanism the Court chooses to reach that result,

which is the result in this case that is just and proper.

                                         Respectfully submitted,

                                         Kahan Shir, PL
                                         Attorneys for Appellees
                                         American Express Company, American
                                         Express Travel Related Services Company,
                                         Inc. and Health Extras, Inc. n/k/a Catamaran
                                         Health Solutions, Inc.
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                                         By /s/ Joel V. Lumer
                                           Joel V. Lumer
                                           Email: jlumer@kahanshir.com


                            CERTIFICATE OF SERVICE

      I certify that a copy hereof was furnished by mail to all persons on the


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attached Service List this November 8, 2012.



                                        /s/ Joel V. Lumer
                                       Joel V. Lumer

                                SERVICE LIST


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